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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                         Case No.: 17-cv-60426-UU

       ALEKSEJ GUBAREV, XBT HOLDING S.A.,
       AND WEBZILLA, INC.

             Plaintiffs,

       vs.

       BUZZFEED, INC. AND BEN SMITH,

         Defendants.
                                                      /

                               DEFENDANTS’ NOTICE OF SEALED FILING

                 Defendants BuzzFeed, Inc. and Ben Smith hereby provide notice pursuant to Southern

       District of Florida Local Rule 5.4(b)(1) and the Court’s Order entered September 19, 2018,

       Dkt. 205 (the “September 19 Order”), of the filing of Defendants’ Motion for Summary

       Judgment and Incorporated Memorandum of Law, and the supporting papers thereto.

                 Good cause exists for the sealing of these papers because they contain information and

       documents that were designated Confidential or Attorneys’ Eyes only pursuant to the Court’s

       Amended Protective Order, Dkt. 97, and information and documents disclosed by the U.S.

       Government under the terms of the Court’s Protective Order entered August 24, 2018, Dkt.

       194.

                 Pursuant to the September 19 Order, Defendants will file a public, redacted version of

       this Motion and its supporting papers within seven days.

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   Dated: September 21, 2018
                                    Respectfully submitted,
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